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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,      )          Crim. No. 06-00079 JMS-KSC
                               )
               Plaintiff,      )          ORDER REGARDING “MALICE
                               )          AFORETHOUGHT” IN COUNTS ONE
          vs.                  )          AND TWO OF THE SECOND
                               )          SUPERCEDING INDICTMENT
NAEEM J. WILLIAMS,             )
                               )
               Defendant.      )
______________________________ )

 ORDER REGARDING “MALICE AFORETHOUGHT” IN COUNTS ONE
    AND TWO OF THE SECOND SUPERCEDING INDICTMENT

                               I. INTRODUCTION

              In this capital felony-murder case, Defendant Naeem J. Williams

(“Defendant”) seeks a ruling prior to opening statements that “malice

aforethought” is a necessary element of the felony murder Counts (Counts One and

Two) of the Second Superseding Indictment (“Indictment”). The court disagrees

based on Ninth Circuit precedent directly on point. See United States v. Miguel,

338 F.3d 995, 1004-05 (9th Cir. 2003); United States v. Chischilly, 30 F.3d 1144,

1159-60 (9th Cir. 1994).

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                                 II. DISCUSSION

             The Indictment charges Defendant with two capital-eligible Counts

arising out of his role in allegedly beating and killing his five-year-old daughter.

Specifically, Count One charges Defendant with first degree felony murder, in

violation of 18 U.S.C. §§ 7 & 1111, as follows:

                    On or about July 16, 2005 . . . the defendant
             NAEEM J. WILLIAMS, with malice aforethought, did
             unlawfully kill Talia Williams, a “child,” in the
             perpetration of “child abuse,” as those terms are defined
             by Title 18 United States Code, Section 1111(c).
                    All in violation of Title 18, United States Code,
             sections 7(3) and 1111(a) & (b).

Doc. No. 1004, Indictment at 2. Count Two charges Defendant with first degree

felony murder, and aiding and abetting first degree felony murder, in violation of

18 U.S.C. §§ 7 & 1111, as follows:

                    From beginning on a date unknown to the Grand
             Jury, but at some time after December 13, 2004, and
             culminating in the death of Talia Williams on July 16,
             2005 . . . the defendant NAEEM J. WILLIAMS and
             Delilah Williams (who is not a defendant in this Second
             Superceding Indictment) with malice aforethought, did
             unlawfully kill, and did aid and abet each other in the
             killing of Talia Williams, a “child,” in the perpetration of
             part of a “pattern and practice of assault and torture”
             against a “child,” as those terms are defined by Title 18,
             United States Code, Section 1111(c).
                    All in violation of Title 18, United States Code,
             Sections 2, 7(3) and 1111(a) & (b).


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Id. at 3.

             In this regard, 18 U.S.C. § 1111 provides, in part:

                    (a) Murder is the unlawful killing of a human
             being with malice aforethought. Every murder
             perpetrated by poison, lying in wait, or any other kind of
             willful, deliberate, malicious, and premeditated killing;
             or committed in the perpetration of, or attempt to
             perpetrate, any arson, escape, murder, kidnapping,
             treason, espionage, sabotage, aggravated sexual abuse or
             sexual abuse, child abuse, burglary, or robbery; or
             perpetrated as part of a pattern or practice of assault or
             torture against a child or children; or perpetrated from a
             premeditated design unlawfully and maliciously to effect
             the death of any human being other than him who is
             killed, is murder in the first degree.
                    Any other murder is murder in the second degree.

18 U.S.C. § 1111(a) (emphases added).

             Defendant contends that “malice aforethought” is a necessary element

as to both Counts One and Two, and that the court is required to instruct the jury as

such, i.e., specifically define “malice aforethought” as a stand-alone element of

Counts One and Two. Defendant argues that the “plain meaning” of § 1111(a)

unambiguously defines “murder” as a killing with “malice aforethought,” and that

§ 1111(a) includes that definition as an element of both first and second degree

murder. Defendant thus contends that “malice aforethought” is an element of both

of the first degree murder Counts alleged in the Indictment. The court, however,



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concludes that it need not define “malice aforethought” for the jury as a stand-

alone element.

             Chischilly addressed this exact question in deciding that second

degree murder is not a lesser-included offense of first degree felony murder under

§ 1111, reasoning as follows:

             Chischilly’s contention [that the court should have given
             an involuntary manslaughter instruction] is uncompelling
             because, while manslaughter is a lesser included offense
             of second degree murder, neither involuntary
             manslaughter nor second degree murder is a lesser
             included offense of first degree felony murder, the only
             homicide offense with which the defendant was charged.
             Under Schmuck v. United States, one offense is
             necessarily included within another only when the
             elements of the lesser offense form a subset of the
             elements of the offense charged. 489 U.S. 705, 709
             (1989). Unlike second degree murder, conviction for
             felony murder under 18 U.S.C. § 1111 requires the
             commission of an enumerated felony with the requisite
             mens rea for the underlying offense. Obversely, second
             degree murder requires proof that defendant acted with
             malice aforethought, whereas under a felony murder
             charge the commission of the underlying offense
             substitutes for malice aforethought. Therefore, the
             elements of second degree murder are not a subset of the
             elements of first-degree felony murder, for “each offense
             requires proof of an element that the other does not.”

30 F.3d at 1159-60 (second emphasis added) (internal citations omitted). And

Miguel later reiterated this principle, explaining that:



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             In Chischilly, the Government prosecuted the defendant
             for felony murder. As a matter of discretion, the district
             court instructed the jury on second-degree murder, but it
             refused to instruct on involuntary manslaughter. The
             Chischilly court stated that “neither involuntary
             manslaughter nor second degree murder is a lesser
             included offense of felony murder.” One element of
             felony murder under § 1111 is “the commission of an
             enumerated felony with the requisite mens rea for the
             underlying” felony. Second-degree murder includes an
             element that felony murder does not include: “proof that
             the defendant acted with malice aforethought.”

338 F.3d at 1005 (quoting Chischilly, 30 F.3d at 1159-60).

             Other courts agree. Although “[u]nder a literal reading of [§ 1111],

‘malice aforethought’ is an element of every type of murder,” United States v.

Chanthadara, 230 F.3d 1237, 1258 (10th Cir. 2000), “the meaning of ‘malice

aforethought’ differs with respect to each kind of murder.” Id. It is thus well-

established that for first-degree felony murder, this malice aforethought

requirement is proven by commission of the specified felony itself. See, e.g.,

United States v. Pearson, 159 F.3d 480, 485 (10th Cir. 1998) (“[T]o prove the

‘malice aforethought’ element of felony murder, the prosecution only need show

commission of the specified felony[.]”); United States v. Tham, 118 F.3d 1501,

1508 (11th Cir. 1997) (“That the killing resulted from commission of an

enumerated felony suffices to establish the requisite malice aforethought [in

§ 1111(a)].”); United States v. Flores, 63 F.3d 1342, 1371 (5th Cir. 1995) (“[T]o be

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guilty of first degree murder, the defendant need only have intended to commit the

underlying felony. No other mens rea is required.”); United States v. Thomas, 34

F.3d 44, 49 (2d Cir. 1994) (similar); United States v. Garcia-Ortiz, 528 F.3d 74,

80-81 (1st Cir. 2008) (similar).

             Stated slightly differently,

             All murders under the federal general murder statute
             require a finding of malice aforethought on the part of the
             perpetrator. The felony murder rule simply provides that
             “the underlying felony, even though it may not be
             ‘premeditation,’ is legally sufficient to transform [an]
             unpremeditated murder into first degree murder.” Thus,
             to prove the “malice aforethought” element of felony
             murder, the prosecution only need show commission of
             the specified felony.”

United States v. Bennett, --- F. Supp. 2d ----, 2013 WL 6272771, at *7 (E.D. Mich.

Dec. 4, 2013) (quoting Pearson, 159 F.3d at 85) (other citation omitted).

             Defendant argues at length that cases have specifically recognized that

“malice aforethought” is required under § 1111(a). See, e.g., Beardslee v. United

States, 387 F.2d 280, 289 (8th Cir. 1967) (“Clearly, under the first sentence of

§ 1111(a), malice aforethought is a necessary factor in the federal crime of

murder.”) (Blackmun, J.); United States v. Lilly, 512 F.2d 1259, 1261 n.4 (9th Cir.

1975) (“We note in passing that under § 1111 all murder, including second-degree

murder and felony murder, requires ‘malice aforethought.’”); Ornelas v. United


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States, 236 F.2d 392, 394 (9th Cir. 1956) (“The first sentence of [§ 1111(a)],

‘Murder is the unlawful killing of a human being with malice aforethought’ is as

much applicable to second degree murder as first degree murder.”). Even so,

however, “the malice aforethought required for second-degree murder is different

in kind, as opposed to degree, than the malice required for felony murder.”

Miguel, 338 F.3d at 1005 n.43 (quoting Chanthadra, 230 F.3d at 1258).

             Courts explain that the phrase “malice aforethought” has different

meanings. “The legal meaning of the phrase, ‘does not even approximate its literal

meaning.’” United States v. Pineda-Doval, 614 F.3d 1019, 1037-38 (9th Cir. 2010)

(citing 2 LaFave, Substantive Criminal Law § 14.1, at 416 (2d ed. 2003)). After

reviewing the gradually expanding meaning of the phrase at common law, Pineda-

Doval explained that “[i]n modern criminal law, malice aforethought covers four

different kinds of mental states: (1) intent to kill; (2) intent to do serious bodily

injury; (3) depraved heart (i.e., reckless indifference); and (4) intent to commit a

felony.” Id. at 1038. See also Pearson, 159 F.3d at 485 (“[A]t common law,

‘malice aforethought’ is a term of art which has several definitions, including, in

the felony murder context, proof of commission of the specified felony.”) (citing

Wayne R. Lafave & Austin W. Scott, Jr., Criminal Law §§ 7.5(e)-(h) (2d ed.

1986)). In Schad v. Arizona, the Supreme Court recognized this same concept:


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              At common law, murder was defined as the unlawful
              killing of another human being with “malice
              aforethought.” The intent to kill and the intent to commit
              a felony were alternative aspects of the single concept of
              “malice aforethought.” . . . [S]tatutes have in most cases
              retained premeditated murder and some form of felony
              murder . . . as alternative means of satisfying the mental
              state that first degree murder presupposes.

501 U.S. 624, 640-41 (1991). And so, with felony murder under § 1111(a), the

“malice aforethought” requirement is satisfied by proving the predicate felony or

felonies. See Chischilly, 30 F.3d at 1160 (“[U]nder a felony murder charge the

commission of the underlying offense substitutes for malice aforethought.”).

                                III. CONCLUSION

              The Ninth Circuit has spoken. A legion of caselaw establishes that the

“malice aforethought” requirement in this § 1111 felony murder case will be met if

the prosecution can establish the predicate felonies (i.e., child abuse; pattern and

practice of assault and torture). In sum, the court agrees with Defendant that

“malice aforethought” is required, but disagrees that it must instruct the jury

specifically that it is an element of felony murder. It will be enough to properly

define for the jury the elements of the underlying predicate felonies. Defendant’s

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request for a ruling at this stage of trial that “malice aforethought” is a necessary

element of the two felony murder Counts in the Indictment is DENIED.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, March 6, 2014.




                                          /s/ J. Michael Seabright
                                         J. Michael Seabright
                                         United States District Judge




United States v. Williams, Cr. No. 06-00079 JMS-KSC, Order Regarding “Malice Aforethought”
in Counts One and Two of the Second Superceding Indictment




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